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                                                             CLERK'S OFFICE/.U.S,DISTRICT COURT
                                                                                                 AT ABINGDON,VA
                                                                                                          FILED
AO 91(Rev.l1/11) Cri
                   mina!Complaint

                               U NITED STATES D ISTRICT C OURT
                                                        forthe                                 JULI .DUDLEY.CLERK
                                            W esternDistrictofVirjinia                         BK
                                                                                                     DEPUTY CLERK
               United StatesofAmerica                                                                                '
                                                                 cxexo. /:ao Y J 4 a
                   JAMES BROW N

                      De#ndantls)

                                          C RIM IN A L C O M PLA IN T
        1,the complainantin thiscase,statethatthefollowing istruetothebestofmy knowledge andbelief.
Onoraboutthedatets)of                   June14,2020         inthecountyof                ' Smyth                  inthe
   Western     Districtof               Virginia    ,thedefendantts)violated:
           CodeSection                                             OyenseDescrètion
18USC 1001(a)(2)'                        False,fictious,orfraudulentstatementorrepresentation to the US
                                         G overnm ent.
42USC 3631(a)                            Criminalinterference with fairhousing.




        Thiscriminalcomplaintisbased on thesefacts:
See attachedAffidavit




        d Continuedontheattachedsheet.
                                                                     %
                                                                                 Complainan't'
                                                                                             ssignature

                                                                           Chad Potter,SpecialAgent,FBI
                                                                                Prl
                                                                                  'ntedname tfA;J tl'
                                                                                                    tle
                      qe-tv w aêeml
Swornto beforem e:
                 !r':!rF:paortln my pr encte.


Dat
  e: ù/x/oo                                                                        Judge'
                                                                                        ssignature

City and state:                     Abingdon,VA                     Pam ela M eade Sargent,U.S.M agistrate Judge
                                                                                  Printednameand title
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        W ESTERN D ISTM CT O F V IRG IN IA
                             AB W GD ON D IV ISION

IN THE MATTER OFTHE ARREST OF:)                                   U ND ER SEA L
JamesBrown                    )
                              )                                    Case N o.

                A FFID A VIT IN SU PPO RT O F SEAR C H W A RR AN T

  1. 1,Chad Potter,being firstduly sworn,hereby deposeand stateasfollows:

                       IN TR OD U CTION A N D A G EN T BA CK G R O U ND

  2. Iam an investigative 1aw enforcem entofficer ofthe U rlited Statesw ithin the m enning of

     Section251047)ofTitle18,UnitedStatesCode,andam empoweredby1aw to conduct
     investigationsand tom ake arrestsfortheoffensesemlmerated in Section 2516 ofTitle

     18,United States Code.

  3. 1havebeen employed asaSpecialAgentwith the FB1forapproxim ately 1year.lnm

     cuzrentlyassignedtotheRichmondDivision,BristolResidentAgency(BItA),locatedin
     Bristol,V irginia.1have experience w ith dom estic terrorism investigations,to include a

     domesticterrorism investigation involving explosivedevices.1havetaken partin

     numerousfederal,state,and localinvestigationsconcerning dom estictenorism ,

     docllm entandidentity fraud,financialfraud and civilrightsviolations.

     Thefactsin thisaffidavitcome 9om m y personalobservations,m y trairling and

     experience,and inform ation obtained from otheragents and w itnesses.This affidavitis

     intended to show simply thatthere issufficientprobablecausefortherequestedwarrant

     and does notsetforth a11m y know ledge aboutthism atter.

  5. Based on the facts as setforth in thisafhdavit,there isprobable cause to believethata

     violation of18U.S.C.j1001(a)(2)(makesanymateriallyfalse,fictitious,orfraudulent
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   statementormisrepresentation)and42U.S.C,j3631(a)(criminalinterferencewithfair
   housing),hasbeencommittedbyJnmesBrown IBRUW NI.
6. Title18,UnitedStatesCode,Section 1001(a)(2)prohibitsindividualsfrom maldng
   m aterially false,fictitious,orfraudulentstatementsormisrepresentations. Title42,

   United StatesCode,Section 3631(a)prohibitstheuseofforceorthreatsofforceto
   willfullyinjtlreorintimidateaperson,orattempttodo so,becauseoftheperson'sraceor
   colorandbecausethepersonwasenjoyinganenumeratedhousingright,suchastheright
   to occupy,purchase,orrenta dw elling.

                                        JUR ISDIC TION

   ThisCourthasjurisdictiontoissuetherequestedwarrantbecauseitis(<acourtof
   competentjtlrisdiction''asdefinedby 18U.S.C.j2711.Specifically,theCourtis(<a
   districtcourtoftheUnitedStates...that-hasjlzrisdictionovertheoffensebeing
   investigated.'' 18U.S.C.j2711(3)(A)(i).
                      STA TEM EN T O F PR O BA BLE CA U SE

8. OnJune14,2020,atapproximately 12:55A.M .OfficerBryanM onis(M orris),M PD,
   responded to PearlAvenue M arion,V irginia 24354,in response to a possible gtm shot.

   M onis w as flagged dow n by V ictim #1,an A frican-A m erican fem ale,who sàid som eone

   putabtmling crossinheryard.Vi
                              1
                                ctim #1'sson,ajuvenileAfrican-Americanmale,was
                                    ,


   an organizerofa civilrightsprotestheld in M arion,V irginia earlierin the day. A tthe

   tim e ofthe incidentV ictim //1 expressed fear and concern forherand herfnm ilies'

   safety.Victim #1'sdaughterwasafraid to leavetheresidenceduetotheE&bang''and the

   burning cross. W hen interview ed by agentsw ith the FederalBureau oflnvestigation,

   V ictim //1 broke into tears wllile describing the incident. 1know from m y training and
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   experiencethatcross-burningshavehistorically been usedto speciscally targetand

   intim idate A frican A m ericans.

9. M orrisobselwed across-shaped pieceofwoodpropped up againsta btun barrel.

   A ccording to M onis,there w as a significantfire inside the btu'n barrelw ith red hot

   coals.

10.Thewood used to m anufacttlrethecrosswasretained by theM arion PoliceDepm m ent.

   Agentsobservedthatthewood wasconnected by ascrew to m akea crossshape.

   Attachedto thewoodwasa woven c10th attachedby staples.Thewood and c10th had a

   sw eetsm ell,which isindicative of apropellantbeing used.

11.SergeantW esley Thom as,M PD ,arrived on scene and used a fire extinguisherto putout

   thefire.

12.Video evidencewasobtainedfrom aneighboring house.Thevidço showed àfireburning

   in the upperportion ofthe screen.The fire erupts into a lazge fireballthatbtumsfor

   severalseconds,w hich isindicative ofthe use ofpropellant.N o vehicles w ere observed

   traveling into oroutofthe vicinity ofthe incident.

13.OnthenightofJune14,2020,ConfdentialW itness(CW )1walkedoutontoaporchofa
   residencenearVictim #1'sresidence.CW 1observed afirein frontofVictim #1'shouse,

   then heard abang. CW 1walkedtoward the firewhereheobserved awhite,skinny m an

   walking away from thevictim 'sresidencelocated on PearlAvenuein M arion,VA

   tow ard a peach colored house acrossthe streetfrom the victim 'sresidence,which isthe

   residence ofBRO W N . Thisdescription ofa SGw hite,skinny m an''m atchesthe

   description ofBRO W N ,who is believed to be ofPuerto R ican descent.
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14.CW 2 waspresentatBROW N 'S residenceon oraroundJune 15,2020when BROW N

   w asasked abouttheincident.BROW N laughed,and said,GtFuck thoseNiggers''. CW 2

   w as also presentw hen BRO W N said,ttl-ley,have you bllrntany crosses lately?''

15.On the nightofJune 14,2020,CW 3 w assleeping ata house nearBROW N 'S residence,

   when he heard a bang. CW 3 puton pants and w alked outside to see the source ofthe

   noiseandobserved acrossburning in Victim #1'syard.CW 3walked into BROW N'S

   residenceand observed him sitting onthecouch.CW 3 statedthatBROW N had

   previously talked aboutburning a crossin Victim #1'syard. BROW N said,&(Idid it,''

   referencingthecrossburninginVictim #1'syard.

16.OnJtme 15,2020,M arionPoliceDepartment(MPD),locatedinM arion,Virginia,
   contactedthe FBIBristolRA concem ing apotentialhatecrime in M arion,Virginia,and

   requested assistancein theinvestigation. Aspartofitsinvestigation,agentswith the

   FederalBureau of Investigation intelwiew ed,BRO W N on June 15,2020 in M arion,

   Virginia. BROW N said hewaswatching TV when heheard abangthatsounded like

   eithera shotgtm or a frework. BRO W N stated he w entoutside and saw a fire butming in

   abarrelin frontofthevictim 'shouse.BROW N statedhethen saw thevictim wallcingup

   the street.BR OW N stated he heard V ictim #1 yelling for som eone to getherchild f'
                                                                                      rom

   the house.BR OW N stated he w entacross the streetand knocked on the door ofthe

   victim 's residence.

17.BROW N also discussed having a troubled relationship with V ictim #1.BR O W N stated

   he and V ictim //1 were friendsuntilhe had an argllm entw ith V ictim #1 involving a

   fem ale friend ofthe Victim #1.
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18.BROW N wasasked by agentsifhehad anything to do with thecrossbllrning acrossthe

   street.BROW N responded,ç$No.''BROW N wasasked by agentsifheknew who btm led

   the cross in frontofthe victim 's house.BRO W N responded,1W o.''



                                        CO N CL USIO N

19.Based on the aforem entioned facm alinform ation and.m y training and experience in

   crim inalinvestigations,lsubm itthatprobablecauseexiststo concludethatJam es

   Brown did knowingly and willingly makem aterially false,fictitious,orgaudulent

   statem ents orm isrepresentations to investigative 1aw enforcem entofficers ofthe U zlited

   Statesinviolationof18U.S.C.j1001(a)(2)anddiduseforceorthreatsofforceto
   willfullyinjtlreorintimidateaperson,orattempttodoso,becauseoftheperson'sraceor
   colorandbecausetheperson wasenjoyingan enumeratedhousingright,such astheright
   tooLcupy,purchase,orrentadwelling,inviolationof42U.S.C.j3631(a).


   FU RTH ER THE A FFIAN T SA YETH N OT.



                                         Respectfully subm itted,



                                          #                                   ws
                                         Chad Potter
                                         SpecialA gent,FBl


                                  VA''*//
   Subscribedandsworntobeforeme n #&+F ,dayofJtme,2020
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  onorable PA M ELA M EAD E SA
U nited States M agistrate Judge


Seen by:

/s/Zachary T.Lee

Zachary T.Lee,A U SA
